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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

GREGORY PARRY,
                                                      Civil Action No. 22-11328
                    Plaintiff(s),
      v.                                              Denise Page Hood
                                                      United States District Judge

HOSPICE OF MICHIGAN, INC.,                            David R. Grand
                                                      United States Magistrate Judge
                 Defendant(s).
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                   NOTICE OF TELEPHONIC CONFERENCE

      PLEASE TAKE NOTICE that a telephonic conference has been scheduled before

Magistrate Judge David R. Grand as follows:

            STATUS CONFERENCE:                February 4, 2025, at 10:00 AM

      Please join the conference by calling the dial-in number below and entering the
passcode:

      Dial-In Number:      734-535-8499
      Passcode:            510 907 982#



                            CERTIFICATE OF SERVICE

      I hereby certify that this Notice was electronically filed, and the parties and/or
counsel of record were served.


                                               s/Eddrey O. Butts
                                               EDDREY O. BUTTS
                                               Case Manager

Dated: January 31, 2025
